

Eisner v  City of New York (2022 NY Slip Op 00270)





Eisner v  City of New York


2022 NY Slip Op 00270


Decided on January 18, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 18, 2022

Before: Manzanet-Daniels, J.P., Gische, Kern, Mazzarelli, JJ. 


Index No. 158484/17 Appeal No. 15108 Case No. 2020-03453 

[*1]Susan B. Eisner, Plaintiff-Appellant,
vThe City of New York, et al. Defendants-Respondents.


Hernstadt Atlas PLLC, Brooklyn (Edward W. Hernstadt of counsel), for appellant.
Georgia M. Pestana, Corporation Counsel, New York (Jesse A. Townsend of counsel), for respondents.



Order, Supreme Court, New York County (Laurence L. Love, J.), entered July 1, 2020, which, insofar as appealed from as limited by the briefs, denied in part plaintiff's CPLR 3124 motion to compel discovery, unanimously affirmed, without costs.
Supreme Court providently exercised its discretion in precluding plaintiff from seeking discovery duplicative of discovery had in a prior federal action, while permitting discovery, consistent with the parties' stipulation to rely on discovery from the federal action and, to the extent practicable, not to duplicate it (see Youwanes v Steinbrech, 193
AD3d 492, 492 [1st Dept 2021]; International Plaza Assoc., L.P. v Lacher, 104 AD3d 578, 578 [1st Dept 2013]).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 18, 2022








